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                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

               V.                          Crimo No。 18‑CR‐ 32‐ 2(DLF)


CONCORD MANAGEⅣ              IENT AND
CONSULTING LLC,
                                           FILED EX PARTE AND UNDER SEAL
                Defendant.



                       GOVERNMENT'S SUPPLEMENTAL NOTICE
                       REGARDING SUPERSEDING INDICTMENT

       On October 25,2019, the United States of America filed notice of its intent to seek       a


superseding indictment in the above-captioned matter. In response to that notice, the Court issued

a Minute Order directing the government to provide additional information regarding: (1) how a

superseding indictment would impact the pending Motion to Strike Surplusage [ECF No. 208],

Motion to Dismiss Count One of the Indictment [ECF No. 210], Motion for Disclosure of Grand

Jury Instructions [ECF No. 217f, and the April 6, 2020 trial date; (2) whether the government

anticipates adding additional defendants; and (3) whether the government is seeking to add charges

or to expand the conspiracy

              . Accordingly, the government hereby supplements its Notice Regarding Superseding

lndictment.

       As stated in its original notice, the government is seeking a superseding indictment

following the Court's denial of its motion to clarify or reconsider the Court's memorandum

opinion denying the motion of defendant Concord Management and Consulting LLC to dismiss

Count One of the Indictment. In light of the Court's decision, the government intends to ask the

Grand Jury to issue a superseding indictment that alleges a conspiracy to interfere with more than
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one lawful function of the Federal Election Commission ("FEC"); that is, that the defendants not

only conspired to interfere with the enforcement of the disclosure requirements set forth in the

Federal Election Campaign Act, but that they also conspired to interfere with the related FEC

function of enforcing the statutory ban on certain expenditures by foreign nationals. The

government does not intend to seek a superseding indictment that adds defendants or charges or

that expands the conspiracy



         Accordingly, the government does not anticipate that a superseding indictment would

affect the April 6,2020 trial date. Similarly, since the contemplated superseding indictment would

leave substantially unaltered most   if not all of the language challenged by Defendant Concord in

its Motion to Strike Surplusage [ECF No. 208], it likely would not impact the Court's resolution

of that motion. As the contemplated superseding indictment would alter or supplement the

language with respect to the lawful govemment functions that the defendants allegedly conspired

to impede, and since the government would need to re-instruct the Grand Jury before seeking      a


superseding indictment, the superseding indictment might impact Defendant Concord's Motion to

Dismiss Count One of the Indictment [ECF No. 210], to which the government has responded, and

its Motion for Disclosure of Grand Jury Instructions [ECF No. 217], to which the government has

not responded. Given that a superseding indictment has not yet been retumed, however, the

government intends to respond to the Grand Jury motion on October 30, 2019, as directed by the

Court.




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          Wherefore, the government respectfully submits this supplemental notice regarding its

intent to seek a superseding indictment from the Grand Jury.



                                      Respectfully submitted,



JOHN C.DEヽ 4ERS                                             JESSIE Ko LIU
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